                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                            3:04CV38-02-V
                           (3:99CR24-14-V)


JOHN BARRY McLENDON,          )
     Petitioner,              )
                              )
          v.                  )              O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon petitioner’s “Motion

To Vacate, Set Aside, Or Correct Sentence” under 28 U.S.C. §2255,

filed February 2, 2004; and on the “Government’s Motion For

Summary Judgment And Answer . . . ,” filed March 15, 2004.              For

the reasons stated herein, the government’s Motion for Summary

Judgment will be granted; and the petitioner’s Motion to Vacate

will be denied and dismissed.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on March

1, 1999, the petitioner (along with thirteen other individuals)

was named in a multiple-count Bill of Indictment.            The sole

charge against the petitioner was that he had conspired to pos-

sess with intent to distribute quantities of cocaine powder and

cocaine base within 1,000 feet of certain protected areas, all in

violation of 21 U.S.C. §§841(a)(1), 846 and 860 (Count One).

     After ten of his co-defendants entered into plea agreements



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with the government, the petitioner and his three remaining co-

defendants proceeded to trial on the subject charges.            On October

18, 1999, the petitioner and his co-defendants selected their

jury, and their trial got underway on the following day.

     During its case in chief, eight of the ten witnesses pre-

sented by the government identified the petitioner as a member of

the subject conspiracy.      More particularly, Fulton Tillman,

Charles Robinson, Ricky Smith and Melvin Burns–-all of whom were

named as the petitioner’s co-conspirators, testified to his

involvement as a “runner” for conspiracy members such as Tillman

and Donnell and Ricky Lindsey.      Witnesses Theodore Carr, Terrence

McRae, Gary Bennett and Jeffrey Wall each further testified to

the peti-tioner’s involvement as a “runner” for the Lindsey

brothers.   Carr also testified that the petitioner had been a

runner for him as well.

     The witnesses defined “runner” as a person who typically

retrieved drugs from hiding places for superiors to sell to other

high-level dealers, and/or a person who actually conducted the

smaller, hand-to-hand drug transactions with drug consumers.

Indeed, such witnesses also testified that they had observed the

petitioner engaging in numerous hand-to-hand drug transactions.

In addition, some witnesses testified that they had observed the

petitioner bring drug customers to the Lindsey brothers, and to

others; and some of the witnesses testified that they observed

the petitioner being compensated for his efforts with cash and/or

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with drugs.   Witnesses Carr and McRae also testified that the

petitioner had conducted medium-level drug deals with them on

behalf of the Lindseys.

     In his defense, the petitioner presented testimony from his

mother, who stated that she was aware that her son used drugs.

However, contrary to the petitioner’s belated representations,

his mother testified that she was not aware that the petitioner

had a serious problem with drugs.       Thus, the petitioner’s

mother’s testimony did not fully support his assertions that he

had a severe drug problem; and that he only maintained contact

with conspiracy members for the purpose of feeding his own

serious drug habit.

     In addition to the foregoing, the petitioner testified in

his own behalf.    During his testimony, the petitioner admitted to

having possessed and used drugs on a regular basis during the

life span of the conspiracy.      However, the petitioner denied

having ever sold any drugs or, more particularly, having been a

“runner” for conspiracy members.

     In any event, after the Court denied the petitioner and his

co-defendants’ motions to dismiss, the jury deliberated on the

pending charges.    At the conclusion of their deliberations, the

jury convicted the petitioner and his co-defendants on all

charges.

     Next, on May 1, 2000, the petitioner’s attorney filed a

document captioned as “Defendant McLendon’s Objections As To Pre-

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sentence Report . . . .”     Such document acknowledged the testi-

mony against the petitioner from the eight above-identified

witnesses.   However, counsel objected to, inter alia, the

Report’s recommendation that the petitioner be sentenced based

upon involvement with “in excess of 1.5 kilograms” of crack

cocaine.   Rather, counsel argued that the testimony established

the petitioner’s involvement with no more than 224 grams of

crack.

     On May 2, 2000, the Court held the petitioner’s Sentencing

Hearing.   On that occasion, the Court recounted certain trial

testimony, but also heard testimony from the government’s agent.

At the conclusion of that testimony, the Court sustained defense

counsel’s objection to the drug quantity proposed in the Pre-

Sentence Report, and agreed that the petitioner should not be

held accountable for involvement with any more than 224 grams of

crack.

     The Court also sustained defense counsel’s objection to a

proposed enhancement for the petitioner’s having completed drug

deals within 1,000 feet of a school.        In particular, the Court

found that the school in question had been closed prior to the

time that the conspiracy was alleged to have commenced.

     On the other hand, however, the Court agreed that the peti-

tioner was subject to a two-level enhancement under United States

Sentencing Guidelines §2D1.1(b) by virtue of his co-conspirators’

armed drug dealing activities.      Thereafter, the Court determined

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that the petitioner’s total adjusted offense level was 36 and his

criminal history category was VI, thereby exposing the petitioner

to a range of 324 to 405 months imprisonment.            At the conclusion

of his Sentencing Hearing, the Court sentenced the petitioner to

324 months imprisonment.

     The petitioner timely gave his Notice of Appeal to the

Fourth Circuit Court of Appeals.          On appeal, the petitioner

challenged numerous matters, including the sufficiency of the

evidence to sustain both his conviction and his firearm enhance-

ment.    The petitioner also challenged one of this Court’s

evidentiary rulings; and he challenged whether he was erroneously

sentenced in excess of the applicable statutory maximum term, in

violation of the then-newly announced rule from Apprendi v. New

Jersey, 530 U.S. 466 (2000).1        See United States v. McLendon,

No. 00-4455, slip op. at 3-4 (4th Cir. April 29, 2002).

Although the appellate Court rejected all of the peti-tioner’s

other contentions, it initially ruled that it could not determine

whether he had been sentenced in error in violation of Apprendi.

Therefore, the appellate Court vacated the petitioner’s sentence

and remanded his case for a determination of whether or not his

prior drug conviction could be used to support his 324-month

sentence.    Id. at 6.



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       Apprendi announced the new procedural rule that any factor other than a
prior conviction which increases the statutory maximum term must be alleged in
the indictment and proven beyond a reasonable doubt.

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     That is, the Court of Appeals found that since the peti-

tioner’s Indictment was silent as to the drug quantity, his

sentence ordinarily could not have exceeded the 20-year term

provided under 21 U.S.C. §841(b)(1)(C). Id.         However, the Court

further found that the petitioner’s 324-month sentence still

would have to be affirmed if he was subject to an enhanced term

on the basis of his prior drug conviction.         Id.   To put it

simply, the appellate Court found that if the record showed that

the government gave the petitioner proper notice under §851(a) of

his potential for an enhanced sentence, then §841(b)(1)(C) would

have allowed the Court to impose a sentence of up to 30 years due

to the petitioner’s prior drug conviction.         Nevertheless, because

the Court noted that the record was “silent on th[at] issue,” it

remanded the petitioner’s case for such determination and, if

necessary, a modification of his sentence.         Id.

     However, before issuing its remand mandate, the Court of

Appeals reheard this matter and reversed its initial determina-

tion.   See United States v. McLendon, No. 00-4455, slip op. at 3

(4th Cir. July 30, 2002).    In particular, the appellate Court

found, that there was “overwhelming” and “essentially uncontro-

verted” evidence that the petitioner actually had dealt “in at

least 50 grams of crack cocaine.”       Id. at 3.    Therefore, using a

plain error analysis in accordance with the U.S. Supreme Court’s

decision in United States v. Cotton, 535 U.S. 625 (2002), the

Court of Appeals affirmed the petitioner’s sentence upon its,

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conclusion that the sentence did not exceed the maximum term of

life imprisonment which could have been imposed had that specific

quantity been alleged in the Indictment.        Id.    Thereafter, the

petitioner’s Petition for a Writ of Certiorari was denied by the

U.S. Supreme Court.

     Consequently, on February 2, 2004, the petitioner returned

to this Court on his Motion to Vacate.       By his Motion, the peti-

tioner alleges that he was subjected to ineffective assistance of

counsel in two specific instances.      First, the petitioner alleges

that counsel was ineffective for having failed to seek either a

new trial or a mistrial on the basis of a “prejudicial variance

and misjoinder of defendants and offenses, where [the] indictment

charged a single conspiracy but the trial evidence proved

separate, multiple conspiracies.”       Second, the petitioner alleges

that counsel was ineffective for having failed to adequately

cross-examine two witnesses concerning the drug amounts which

they attributed to the petitioner.

     On March 15, 2004, the government’s combined Answer and

Motion for Summary Judgment was filed.       According to the govern-

ment, the evidence produced at trial established a single

conspiracy of which the petitioner was an active member.             Fur-

thermore, the government argues that the petitioner’s challenge

to his attorney’s cross-examination is nothing more than baseless

speculation.   Thus, the government asserts that the petitioner’s

Motion to Vacate should be summarily dismissed.

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     On May 3, 2004, the petitioner filed a Declaration in Op-

position to the government’s Motion for Summary Judgment.               In

that document, the petitioner essentially reiterates his earlier

contentions.

     Notwithstanding the petitioner’s contentions to the con-

trary, the Court has carefully reviewed this matter, and has

determined that the petitioner has failed to demonstrate an

entitlement to relief on either of his claims.            Accordingly, the

government’s Motion for Summary Judgment must be granted.

                             II.   ANALYSIS

     With respect to claims of ineffective assistance of counsel,

the petitioner must show both that counsel's performance was

constitutionally deficient to the extent it fell below an

objective standard of reasonableness, and that he was prejudiced

thereby.   Strickland v. Washington, 466 U.S. 668, 687-91 (1984)

see also Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1297-99

(4th Cir.), cert. denied, 474 U.S. 865 (1985); Hutchins v.

Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983), cert. denied,

464 U.S. 1065 (1984); and Marzullo v. Maryland, 561 F.2d 540 (4th

Cir. 1977), cert. denied, 435 U.S. 1011 (1978).

     In considering the prejudice prong of the analysis, the

Court must not grant relief solely because the petitioner can

show that, but for counsel’s performance, the outcome of the

proceeding would have been different.         Sexton v. French, 163 F.3d



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874, 882 (4th Cir. 1998), cert. denied, 528 U.S. 855 (1999).

Rather, the Court “can only grant relief under . . . Strickland

if the ‘result of the proceeding was fundamentally unfair or

unreliable.’” Id., quoting Lockhart v. Fretwell, 506 U.S. 364,

369 (1993).

          1.    The petitioner’s claim that counsel was
                ineffective for having failed to seek a
                new trial or a mistrial is meritless.

     Turning to his first claim, there the petitioner argues that

counsel was ineffective for having failed to seek a new trial or

a mistrial.     According to the petitioner, such measures were

warranted due to a “prejudicial variance and misjoinder of

defendants and offenses . . . .”        However, this claim must be

flatly rejected.

     First, this Court recalls that on direct appeal, the

petitioner challenged the sufficiency of the evidence to sustain

his conviction to involvement in such single conspiracy.              How-

ever, the Fourth Circuit flatly rejected that challenge, stating

that the record showed “there was sufficient evidence to sustain

the convictions of each defendant.”         United States v. McLendon,

No. 00-4455, slip op. at 6 (April 29, 2002).          Indeed, on

rehearing, as was previously noted, the Court of Appeals found

that the government had presented “overwhelming and essentially

uncontroverted evidence” of the petitioner’s involvement in such

conspiracy.    McLendon, No. 00-4455, slip op. at 2 (July 30,



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2002).    Therefore, to the extent that this claim is the peti-

tioner’s thinly-veiled attempt to launch a new attack on the

sufficiency of the evidence of his guilt, it clearly must fail.

     Second, the Court notes that at the conclusion of his trial,

the petitioner’s defense counsel strenuously argued that the

government’s evidence had proven the existence of at least three

separate conspiracies, not the single one alleged in the Indict-

ment.    Nevertheless, the jury obviously found that argument

lacking inasmuch as it found the petitioner guilty of conspiring

to sell cocaine as alleged in the Indictment.           The jury’s finding

of a single conspiracy should not be disturbed unless there was

evidence of multiple conspiracies which was likely to have con-

fused the jury into imputing guilt to the petitioner as a member

of one conspiracy because of the illegal activity of members of

the other conspiracy.       Here, there was no such evidence; there-

fore, there would not have been any basis upon which counsel

could have sought the subject motions.         See United States v.

Roberts, 262 F.3d 286, 294 (4th Cir. 2001), cert. denied, 535

U.S. 991 (2002).

     Further as to this multiple conspiracy theory, no such

evidence was produced in this trial.         Indeed, as the government

noted in its Answer, witnesses Tillman, Carr, McRae and Wall all

testified concerning the extensive nature of their cocaine

dealing activities with each of the persons whom the petitioner

has identified as having been leaders of other conspiracies.                  Two

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of those witnesses, along with six others further established

that their conspiratorial activities took place in the same

geographic area, Anson County, North Carolina.          In addition, all

eight of those witnesses established that the petitioner was a

“runner” for the subject conspiracy.

     Under the law, a single conspiracy can be found where there

are multiple transactions, so long as there is an overlap of key

actors, methods and goals, indicating one overall agreement or

one general business venture.     United States v. Crockett, 813

F.2d 1310 (4th Cir. 1987).    Indeed, a single conspiracy can be

found where the evidence shows, as it did here, that “[t]he

conspiracy had the same objective, it had the same goal, the same

nature, the same geographic spread, the same results, and the

same product.”   Id. at 1317.    Furthermore, a single conspiracy

can be found even where there were parallel and competitive

activities among its members.     United States v. Banks, 10 F.3d

1044, 1054 (4th Cir. 1993).

     Equally critically, the fact that the witnesses’ testimony

did not connect every alleged member of the conspiracy to every

single transaction is not critical to a finding of a single

conspiracy.   Indeed, the Fourth Circuit has stated that a con-

spiracy’s participants “need not be involved in every phase of

[the] conspiracy to be deemed a participant” in a single, ongoing

conspiracy.   United States v. Leavis, 853 F.2d 215, 218 (4th Cir.

1988).   Therefore, the petitioner cannot prevail on this

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argument.

     As for the petitioner’s assertions that he personally had

little to no connection with many of the members of the conspi-

racy, and that he should not have been convicted for conspiring

with them, such assertions simply are factually irrelevant.

Rather, it is well settled that a defendant need not have know-

ledge of all of his co-conspirators, or of the details of the

conspiracy in order to be convicted of being a member of such

group.    United States v. Strickland, 245 F.3d 368, 385 (4th

Cir.), cert. denied, 534 U.S. 894 (2001).        In fact, a defendant

may be convicted on a conspiracy charge despite having played

only a minor role in the overall conspiracy.         Id.

     To put it another way, “[o]nce it has been shown that a

conspiracy exists, the evidence need only establish a slight

connection between the defendant and the conspiracy to support

conviction.”    United States v. Brooks, 957 F.2d 1138, 1147 (4th

Cir. 1992); accord United States v. Burgos, 94 F.3d 849, 857 (4th

Cir. 1996) (en banc).

     Moreover, and contrary to his other assertions, the mere

fact that the petitioner was occasionally paid for his work with

crack, or the fact that he may have consumed some of the crack

which he was given to distribute, does not somehow convert his

relationship with his co-conspirators into one of buyer and

seller.    Rather, such evidence simply establishes that the peti-

tioner’s participation in the conspiracy unfortunately allowed

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him to more easily feed his drug habit.

     Concerning the petitioner’s argument that there was a mis-

joinder of defendants, such contention also is without merit.

Indeed, the petitioner argues that he should not have stood trial

with either Walt Willougby, Shannell Willougby, or Rodney Wall

because he had no direct involvement with them.              However, the law

is equally clear that, “barring special circumstances, indivi-

duals indicted together should be tried together.”              United States

v. Brugman, 655 F.3d 540, 542 (4th Cir. 1981).

     This presumption that co-defendants should and will be tried

together applies equally to defendants indicted on conspiracy

charges.   Zafiro v. United States, 506 U.S. 534, 537-38 (1993);

United States v. Akinkoye 185 F.3d 192, 197 (4th Cir. 1999),

cert. denied, 528 U.S. 1177 (2000).        Moreover, no right to sever-

ance arises because the evidence against one or more defendants

is stronger, or more inflammatory, than the evidence against

other defendants.   See, e.g., Strickland, 245 F.3d at 384.

     In sum, the witnesses’ testimony established a large-scale,

loosely operated conspiracy involving many members, some of whom

were not fully aware of the others.        Such testimony also

established that the petitioner was a member of that conspiracy.

Therefore, this Court concludes that the petitioner was not

prejudiced by defense counsel’s decision not to seek a new trial

or a mistrial.   To be sure, on this record the Court finds that

even if defense counsel had filed such motions on any of the

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foregoing bases, they would not have been granted because there

was sufficient evidence to establish the petitioner’s membership

in a single cocaine dealing conspiracy.

            2.   The petitioner’s challenge to defense
                 counsel’s handling of two of the witnesses
                 also is without merit.

       By this allegation, the petitioner claims that counsel was

ineffective for having failed to more effectively cross-examine

two witnesses concerning drug amounts which they attributed to

him.    By the petitioner’s calculations, had counsel mounted a

vigorous cross-examination, he could have discredited the testi-

mony and established the petitioner’s involvement with less than

the 224 grams of cocaine for which he was held accountable.

However, even when using the petitioner’s calculations, the Court

has concluded that he did not suffer any prejudice by virtue of

his attorney’s performance.

       The record reflects that Charles Robinson testified that on

an occasion, he observed the petitioner retrieve a package

containing about three-fourths of an ounce of crack for co-

conspirator Donnell Lindsey. (Trial Transcript Volume II, pages

276-77).     Subsequently, Theodore Carr testified that on “over

25" occasions, he gave the petitioner packages of cocaine valued

at between $100 and $200 to sell for him. (Trial Transcript Vol-

ume III, pages. 388-389).     Carr further stated that the subject

packages typically were broken down into smaller $20-units. (p.


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388).

     In this Motion, the petitioner asserts that, a $20-sized

unit contained two-tenths of a gram of crack.           Therefore, even

when using the petitioner’s calculations and disregarding Robin-

son’s testimony, the petitioner appears to be contending that he

should have been held accountable for involvement with about 50

grams of crack (that is, for involvement with no more than 2

grams of crack on at least 25 separate occasions).               However, the

base offense level which corresponds to involvement with 50 grams

of crack is 32, which is merely one level below the base offense

level which the Court actually used to calculate his sentence.

(See U.S.S.G. §2D1.1(4)).

     Thus, after applying the 2-point enhancement under U.S.S.G.

§2D1.1(b)(1) to base offense level 32, the petitioner’s total

adjusted level would have been 34.         Furthermore, applying total

offense level 34 to criminal history category VI, which level has

not been challenged, the petitioner’s range of imprisonment still

would have been 262 to 327 months imprisonment.               Ultimately,

then, inasmuch as the petitioner was sentenced to 324 months

imprisonment--a term which is well within the range which he

seems to believe the Court should have used--he cannot possibly

demonstrate any prejudice on the basis of his attorney’s decision

not to mount a vigorous cross-examination of these two witnesses.

Therefore, this claim against counsel also must fail.



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                            III.   CONCLUSION

     The record of the proceedings underlying the petitioner’s

conviction fails to reveal merit in either of his two claims

against counsel.   Therefore, the government’s Motion for Summary

Judgment will be granted; and the petitioner’s Motion to Vacate

will be denied and dismissed.

                               IV. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the government’s Motion for Summary Judgment is

GRANTED; and

     2.   That the petitioner’s Motion to Vacate is DENIED and

DISMISSED.

     SO ORDERED.



                                         Signed: February 13, 2006




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